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          IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF TEXAS
                   BEAUMONT DIVISION



                               No. 1:10-CR-22


United States of America


v.

Brandy Gatlin

                                              Defendant




        Findings of Fact and Recommendations on Guilty Plea


      Pursuant to 28 U.S.C. § 636(b), this matter was referred to the
undersigned United States Magistrate Judge to receive defendant’s guilty plea.

      On May 13, 2010, defendant, defendant’s counsel, and the government
came before the court for guilty plea and allocution on Count IV of the
Indictment filed herein, charging a violation of 18 U.S.C. § 1791(a)(1). After
conducting proceedings in the form and manner prescribed by Rule 11 of the
Federal Rules of Criminal Procedure, the undersigned accepted and bound
defendant to the guilty plea upon finding that:




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      (1)   Defendant, after consultation with counsel of record, knowingly and
voluntarily consents to pleading guilty before a United States magistrate judge,
and did plead guilty to Count IV of the Indictment.

      (2)      Defendant is fully competent and capable of entering an informed
plea, is aware of the nature of the charges and the consequences of the plea, and
the plea of guilty is a knowing and voluntary plea supported by an independent
basis in fact containing each of the essential elements of the offense.

      (3)      Defendant’s plea is made pursuant to a plea agreement, a copy of
which was produced for inspection and filed in the record. The plea agreement
is of the type specified in Fed. R. Crim. P. 11 (c)(1)(A) and (B), in that (1) the
government agrees to not bring, or move to dismiss, other charges and (2) the
parties agree and make a non binding recommendation that a particular
provision of the Sentencing Guidelines, policy statement, or sentencing factor
does or does not apply.

      (4)      Defendant was advised that the court may defer its decision as to
acceptance or rejection of the plea agreement until it reviews the presentence
report, and:

               (a)    if the court rejects the plea agreement’s stipulations regarding
                      appropriate sentencing factors, defendant will have no right
                      to withdraw the plea;

               ;(b)   if the court accepts that part of the plea agreement provision
                      wherein the United States agrees to dismiss or not bring
                      other charges, such agreed disposition will be included in the
                      judgment; but if the court rejects that provision, the court will
                      give defendant an opportunity to withdraw the plea of guilty;
                      and, in that event,




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            (c)   if the plea is not withdrawn, the court may dispose of the case
                  less favorably toward the defendant than the plea agreement
                  contemplates.


                            RECOMMENDATIONS

      Defendant should be adjudged guilty of the offense to which he has
pleaded guilty. The court should defer its decision as to acceptance or rejection
of the plea agreement until it reviews the presentence report.

                                OBJECTIONS

      Upon conclusion of plea proceedings, both parties stated that they do not
object to the findings and recommendations stated above.

                   13 day of May, 2010.
      SIGNED this _____




                                     ______________________________________
                                     Earl S. Hines
                                     United States Magistrate Judge




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